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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY                                )
 EMPLOYEES UNION, et al.,                         )
            Plaintiffs,                           )
                                                  )
 v.                                               )            Civil Action No. 25-CV-381-ABJ
                                                  )
 RUSSELL VOUGHT,                                  )            Hon. Amy Berman Jackson
 in his official capacity as Acting Director      )
 of the Consumer Financial Protection             )
 Bureau, et al.,                                  )
                   Defendants.                    )



                                  NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that Sarah Hollender, pursuant to the Court's order
granting permission to appear pro hac vice, hereby notices her appearance for amicus
curiae Tzedek DC.
March 19, 2025                                  Respectfully submitted,


                                               /s/ Sarah Hollender
                                               Sarah Hollender
                                               D.C. Bar No. 1049144
                                               TZEDEK DC
                                               UDC David A. Clarke School of Law
                                               4340 Connecticut Ave NW, Suite 319
                                               Washington, DC 20008
                                                Tel: (202) 274-7386
                                                sh@tzedekdc.org

                                               Counsel for amicus curiae Tzedek DC




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                                 CERTIFICATE OF SERVICE

       On March 31, 2025, I electronically filed this document through the ECF
system, which will send the notice of electronic filing to all counsel of record.

                                                      /s/ Sarah Hollender
                                                      Sarah Hollender

                                                      Counsel for amicus curiae Tzedek DC




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